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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 JUAN HERNANDEZ and ROSENDO                        )
 HERNANDEZ,                                        )
                                                   )          No. 1:23-cv-1737
               Plaintiffs,                         )
                                                   )          Hon. Jeremy C. Daniel
               v.                                  )
                                                   )          Magistrate Heather K. McShain
 REYNALDO GUEVARA, et al.,                         )
                                                   )
               Defendants.                         )          JURY TRIAL DEMANDED


               PARTIES’ AMENDED PROPOSED DISCOVERY SCHEDULE

        Pursuant to the Court’s Order (Dkt. 94), the parties submit the following proposed

amended discovery schedule:

        Plaintiffs’ Position:

        1.      Discovery in this case has been open since August 2023. The parties have

exchanged written discovery, produced thousands of pages of documents, sent subpoenas to third

parties, subpoenaed and noticed third-party depositions, and Plaintiffs have noticed Defendant

depositions.

        2.      Plaintiffs propose that fact discovery should be set to close on March 29, 2024, that

Plaintiffs disclose expert reports on April 22, 2024, and Defendants disclose experts on May 24,

2024.

        3.      Following the Court’s ruling, Dkt. 98, Plaintiffs will question the following

witnesses first, on the following dates, subject to witness availability when Plaintiffs contact the

witnesses about compliance with pending subpoenas: Daniel Violante (February 2, 2024), Juan

(Carlos) Cruz (February 6, 2024), Marybel (Gutierrez) Arroyo (February 9, 2024), Nancy
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Gonzalez (February 19, 2024), Jesus Gonzalez (February 21, 2024), and Jose (Martin) Gonzalez

(February 27, 2024).

Defendants’ Position:

       4.      While the parties have exchanged written discovery, there are several deficiencies

that Defendants will be addressing with Plaintiffs’ responses, including interrogatory answers

regarding the Defendant Officers’ involvement and Plaintiffs’ damages, as will be set forth in a

detailed 37.2 letter. In addition, while Plaintiff has produced over 27,000 pages of records, none

of those records were labeled in any way, no index was provided, nor did Plaintiff point Defendants

to specific documents in response to Defendants’ Request to Produce. As a result, Defendants are

having to diligently sift through an extensive production of documents.

       5.      Since discovery opened, Defendants diligently requested central documents

necessary to proceed with discovery. Some of those subpoenas remain outstanding, in particular,

the Illinois Department of Corrections only partially responded to Defendants’ subpoena.

Defendants have been diligently following up with regards to missing records. In addition,

Defendants are still waiting on supplemental responses to their subpoena from the Exoneration

Project. This subpoena was served on October 18, 2023. On December 1, 2023, the Exoneration

responded with a partial production and stated that, “This production is still ongoing as we are

continuing a privilege review of certain files. We will supplement when that is complete.” After

following up on this subpoena, on January 10, 2024, the Exoneration Project stated they needed

additional time based on an “additional privilege review in this matter that is ongoing.” Defendants

have requested a timeframe regarding what additional time is needed for this supplemental

response but have not yet received a response. In addition, subpoenas remain outstanding to the

following entities: Cook County Court Reporters (for transcripts from Plaintiffs’ criminal

proceedings which were requested in August 2023); Cook County Department of Corrections
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(served August 29, 2023); Plaintiffs’ defense attorney, Richard Beuke (issued for service on

August 29, 2023); Plaintiff’s defense attorney Gregory Swygert (issued for service on August 29,

2023); Plaintiffs’ defense attorney Dennis Giovanni (issued for service on August 29, 2023).

Defendants have been diligently following up on these outstanding subpoenas.

        6.     In addition, because Plaintiffs’ criminal files were sealed, the parties had to file

various motions to unseal Plaintiffs’ criminal files. That motion was recently granted on December

20, 2023, and the parties are in the process of obtaining copies of this file.

        7.     Plaintiffs served Defendants Guevara, Bemis and Biebel with a notice of deposition

for the first time on January 10, 2024, without consulting with Defendants regarding these dates.

Defendants will have to consult with their clients regarding proposed dates for their depositions

and confer with Plaintiffs regarding these depositions. Furthermore, the proposed dates for the

above-mentioned witnesses in Plaintiffs’ paragraph 3, are dates Plaintiffs have suggested without

consulting the availability of defense counsel. Defendants will confer with Plaintiffs’ counsel on

agreeable dates for the witnesses listed in Plaintiffs’ paragraph 3.

        8.     In addition, in their 26(a) Disclosures, Plaintiffs have disclosed approximately

thirty-five non-party witnesses related to the underlying case, and Plaintiffs have further disclosed

well over one-hundred Fed. R. Civ. P. 404(b) witnesses. Defendants have disclosed approximately

thirty-two non-party witnesses (some which overlap with Plaintiffs’ disclosures, and some that do

not).

        9.     As a result of the above, Defendants respectfully propose the following amended

discovery schedule: All non-Monell fact discovery completed by October 31, 2024; and Monell

and expert discovery deadlines to be determined at the time fact discovery is closed.




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       10.     Based on this Court’s January 5, 2024, Order (Dkt .98), Defendants will be

questioning the following witnesses first (which have previously been noticed/ subpoenaed): Fred

Rock, Jondalyn Fields, Nelson Pacheco, Desiree Bandomo, Nicole Nathaniel, Rosa Solis, and

Sophia Solis. Defendants will confer will all counsel as to dates all parties are available for these

depositions to proceed.

 DATED: January 10, 2024                             RESPECTFULLY SUBMITTED,


/s/ Sean Starr                                        /s/Brian P. Gainer
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